                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

UNITED STATES OF AMERICA                           )
                                                   )
vs.                                                )       JUDGE CARTER
                                                   )       Mag. No. 1-10-mj-6
ERIC SCOTT HUBBARD                                 )
ALLEN S. FITZGERALD                                )


                               MEMORANDUM AND ORDER

       In accordance with Rules 5 and 5.1 of the Federal Rules of Criminal Procedure and in
accordance with the Bail Reform Act, 18 United States Code § 3142(f), the preliminary hearing
and detention hearing were held in this action on January 11, 2010. Those present included:

              (1) AUSA Mel Schwing for the United States of America.
              (2) The defendant, ERIC SCOTT HUBBARD.
              (3) Attorney Rita LaLumia for defendant.
              (4) The defendant, ALLEN S. FITZGERALD.
              (5) Attorney Lee Ortwein for defendant.
              (6) FBI Agent Bob Bissell.
              (7) Deputy Clerk Kelli Jones.
              (8) Court Reporter Elizabeth Coffey.

        Upon being sworn, the defendants were informed or reminded of their privilege against
self-incrimination accorded them under the 5th Amendment to the United States Constitution.
Atty. Rita LaLumia of Federal Defender Services of Eastern Tennessee, Inc. was present as court
appointed counsel for defendant Eric Scott Hubbard, and Atty. Lee Ortwein was present as court
appointed counsel for defendant Allen S. Fitzgerald.

          The defendants acknowledged they had received a copy of the Criminal Complaint at the
initial appearance on January 7, 2010. It was determined they were capable of being able to read
and understand the proceedings.

       AUSA Schwing moved the court that the defendants be detained without bail.

                      Detention Hearing and Preliminary Hearing - Proof

       AUSA Schwing called FBI Agent Bob Bissell as a witness. He testified to the facts
outlined in the affidavit attached to the criminal complaint.


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                                           Findings

       Having heard and considered the testimony of the Agent Bissell during the detention
hearing and preliminary hearing and the Affidavit/Complaint, the undersigned finds:

              (1) There is probable cause to believe that there have been
              violations of 18 U.S.C. §§ 213(a) and 371, conspiracy to commit
              bank robbery, committed in the Eastern District of Tennessee.

              (2) There is probable cause to believe the defendants committed
              the aforesaid offenses.

              (3) The proof the defendants committed the aforesaid offenses is
              strong.

              (4) As to both defendants, there are no conditions nor are there any
              combination of conditions which will reasonably assure the safety
              of the community or the presence of the defendants at future
              hearings.

                                          Conclusions

       It is ORDERED:

              (1) Both defendants are held to answer the charges against them in
              the District Court.

              (2) AUSA Schwing’s motion to detain the defendants without bail
              is GRANTED for reasons set out in the separate ORDER OF
              DETENTION PENDING TRIAL filed with this order.

              (4) The defendants’ next appearance shall be for an arraignment
              before the undersigned at 10:00 a.m. on Monday, February 1,
              2010.

       ENTER.

       Dated: January 14, 2010                      s/William B. Mitchell Carter
                                                    UNITED STATES MAGISTRATE JUDGE




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